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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF INDIANA
                         LAFAYETTE DIVISION

 JANE DOE, an individual,                )
       Plaintiff,                        )
                                         )
 vs.                                     )
                                         )        CAUSE NO: 4:18-CV-00072-TLS
 PURDUE UNIVERSITY, a public entity,     )
      Defendant.                         )
                                         )

          PURDUE UNIVERSITY’S NOTICE OF SUPPLEMENTAL AUTHORITY
               REGARDING PURDUE’S MOTION IN LIMINE NO. 9

       Defendant The Trustees of Purdue University (“Purdue University”) hereby

provides this Court with supplemental authority in further support of Purdue’s

Motion in Limine no. 9 (ECF No. 236 pp. 10-11) regarding use of the word

“grooming.” The offices of the undersigned recently received a copy of the 12th

edition of Black’s Law Dictionary, released just this month,1 in which was added the

following definition:

        sexual grooming. (1994) Criminal law. A sexual predator’s
        attempt, usu. over time, to establish an emotional connection with a
        minor or members of a minor’s family to lessen the child’s inhibitions
        to sexual activity with the predator. ● Sexual grooming can occur in
        various settings: in person, through texting, through social media,
        etc. Minors who have been groomed often experience mental-health
        issues such as anxiety, depression, posttraumatic stress, and suicidal
        ideation. — Often shortened to grooming.

Sexual Grooming, Black’s Law Dictionary (12th ed., 2024) (emphasis added).




1 See https://www.thomsonreuters.com/en/press-releases/2024/june/thomson-

reuters-releases-12th-edition-of-black-s-law-dictionary.html
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Respectfully submitted,                 /s/ Matthew M. Humble
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